         Case 2:06-cr-00101-MCE Document 79 Filed 02/14/07 Page 1 of 1


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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
                                                       2:06-cr-0101-MCE
12 UNITED STATES OF AMERICA,
13                         Plaintiff,
14         vs.
                                                       ORDER
15 LORETTA ARRENDONDO,
   JAMIE HERNANDEZ and
16 JESSICA MAYORAL,
17                         Defendants.
                                                       Judge: Hon. Morrison C. England
18
19
            IT IS HEREBY ORDERED that the sentencing hearing for Loretta Arrendondo, Jamie
20
     Hernandez and Jessica Mayoral, currently set for February 20, 2007, is re-set for sentencing on February
21
     27, 2007, at 8:30 a.m.
22
23    Dated: February 13, 2007
24                                                   ________________________________
25                                                   MORRISON C. ENGLAND, JR.
                                                     UNITED STATES DISTRICT JUDGE
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